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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 11

EGALET CORPORATION, et al., Case No. 18-12439 (BLS)

Jointly Administered

Debtors. !
Ref. Docket No. 5

 

FINAL ORDER (A) AUTHORIZING THE DEBTORS TO USE CASH
COLLATERAL, (B) GRANTING ADEQUATE PROTECTION,

AND (C) MODIFYING THE AUTOMATIC STAY

Upon the motion (the “Motion”)’ of Egalet Corporation (“Egalet”) and its affiliated
debtors, each as debtor and debtor-in-possession (collectively, the “Debtors”) in the
above-captioned chapter 11 cases (collectively, the “Chapter 11 Cases”), pursuant to sections
105, 361, 362, 363, 503, and 507 of title 1! of the United States Code (as amended, the
“Bankruptcy Code”), rules 2002, 4001, and 9014 of the Federal Rules of Bankruptcy Procedure
(the “Bankruptcy Rules”), and rules 2002-1(b), 4001-2, and 9013-1(m) of the Local Rules of
Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of
Delaware (the “Local Bankruptcy Rules”), seeking entry of this final order (the “Final Order”)
inter alia:

(i) authorizing the Debtors’ continued use of Cash Collateral (as defined

below);

 

The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax identification
numbers, are: Egalet Corporation ($334), Egalet US Inc. (6649), and Egalet Limited (Foreign). The Debtors’
corporate headquarters and mailing address is located at 600 Lee Road, Suite 100, Wayne, PA 19087.

Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Motion.

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(ii) granting adequate protection to the Prepetition Secured Creditors for any
Diminution in Value of their respective interests in the Prepetition Collateral (each as defined
below), including the Cash Collateral;

(iii) to the extent set forth herein, waiving the Debtors’ right to surcharge the
Collateral (as defined below) pursuant to section 506(c) of the Bankruptcy Code; and

(iv) vacating or modifying the automatic stay imposed by section 362 of the
Bankruptcy Code to the extent necessary to permit the Debtors and the Prepetition Secured
Creditors to implement and effectuate the terms and provisions of this Final Order.

The Court (as defined below) having considered the Motion, the First Day Declaration,
the exhibits attached thereto, and the evidence submitted or adduced and the arguments of
counsel made at the interim hearing held on November 1, 2018 (the “Interim Hearing”) and the
final hearing held on [December 3, 2018] (the “Final Hearing”); and the Court having entered
the Interim Order (A) Authorizing the Debtors to Use Cash Collateral, (B) Granting Adequate
Protection, (C) Modifying the Automatic Stay, and (D) Scheduling a Final Hearing [Docket No.
53] (the “Interim Order”); and after due deliberation and consideration, and for good and
sufficient cause appearing therefor;

BASED UPON THE RECORD ESTABLISHED BY THE DEBTORS AT THE INTERIM

HEARING AND THE FINAL HEARING, THE COURT HEREBY MAKES THE
FOLLOWING FINDINGS OF FACT AND CONCLUSIONS OF LAW:?

A. Petition Date: On October 30, 2018 (the “Petition Date”), each of the Debtors
filed a voluntary petition under chapter 11 of the Bankruptcy Code in the United States

Bankruptcy Court for the District of Delaware (this “Court”) commencing these Chapter 11

 

* Findings of fact shall be construed as conclusions of law, and conclusions of law shall be construed as findings

of fact, pursuant to Bankruptcy Rule 7052.
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Cases. On November 1, 2018, this Court entered an order approving the joint administration of
these Chapter 11 Cases.

B. Debtors in Possession. The Debtors continue to manage and operate their
businesses and properties as debtors in possession pursuant to sections 1107 and 1108 of the
Bankruptcy Code. No trustee or examiner has been appointed in these Chapter 11 Cases.

Cc. Jurisdiction and Venue. The Court has jurisdiction over this matter, these
proceedings, and the persons and property affected hereby pursuant to 28 U.S.C. §§ 157 and
1334 and the Amended Standing Order of Reference from the United States District Court for
the District of Delaware, dated February 29, 2012. This matter is a core proceeding within the
meaning of 28 U.S.C. § 157(b)(2), and the Debtors confirm their consent pursuant to Local
Bankruptcy Rule 9013-1(f) to the entry of a final order by the Court in connection with this
Motion to the extent that it is later determined that the Court, absent consent of the parties,
cannot enter final orders or judgments in connection herewith consistent with Article If] of the
United States Constitution. Venue for these Chapter 11 Cases is proper pursuant to 28 U.S.C. §§
1408 and 1409.

D. Committee. As of the date hereof, the United States Trustee (the “U.S. Trustee”)
has not appointed an official committee of unsecured creditors in these Chapter 11 Cases
pursuant to section 1102 of the Bankruptcy Code (a “Committee”).

E. Debtors’ Stipulations. After consultation with their attorneys and financial
advisors, and without prejudice to the rights of parties-in-interest as described in Paragraph I1
herein, the Debtors stipulate and agree that (collectively, Paragraphs E(i)-(iv) below are referred

to herein as the “Debtors’ Stipulations”):
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(i) Secured Notes. Egalet issued 13% Senior Secured Notes (the
“Prepetition Secured Notes,” and the holders of the Prepetition Secured Notes, the
“Prepetition Secured Noteholders”) pursuant to that certain Indenture, dated as of August 31,
2016 (as amended, supplemented, or otherwise modified from time to time, the “Secured Notes
Indenture,” and together with the other Security Documents (as defined in the Secured Notes
Indenture), the “Prepetition Notes Documents”), among Egalet, the Guarantors (as defined in
the Secured Notes Indenture) from time to time party thereto, and U.S. Bank National
Association, as trustee and collateral agent (the “Prepetition Trustee,” and together with the
Prepetition Secured Noteholders, the “Prepetition Secured Creditors”). As of the Petition
Date, the Debtors were jointly and severally indebted to the Prepetition Secured Creditors
pursuant to the Prepetition Notes Documents, without defense, counterclaim, or offset of any
kind, in the aggregate principal amount of $80,000,000, plus accrued and unpaid interest with
respect thereto (which, as of the Petition Date, was $1,155,556), plus a premium with respect
thereto at the optional redemption price on the terms set forth in the Secured Notes Indenture
(which premium, as of the Petition Date, was $7,200,000.00), and any additional fees, costs,
expenses (including any attorneys’, financial advisors’, and other professionals’ fees and
expenses), reimbursement obligations, indemnification obligations, contingent obligations, and
other charges of whatever nature, whether or not contingent, whenever arising, due, or owing,
and all other Obligations (as defined in the Secured Notes Indenture) owing under or in
connection with the Prepetition Notes Documents (the “Prepetition Secured Obligations”).

(ii) | Notes Collateral. In connection with the Secured Notes Indenture, the
Debtors entered into that certain Collateral Agreement, dated as of August 31, 2016 (as

amended, supplemented or otherwise modified from time to time, the “Collateral Agreement”),
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by and among Egalet, Egalet US Inc. and Egalet Limited, the Subsidiary Parties (as defined in
the Collateral Agreement) from time to time party thereto, and the Prepetition Trustee. Pursuant
to the Collateral Agreement and the other Prepetition Notes Documents, the Prepetition Secured
Obligations are secured by valid, binding, perfected first-priority security interests in and liens
on (the “Prepetition Liens”) the Collateral (as defined in the Collateral Agreement) and the
Notes Collateral (as defined in the Secured Notes Indenture} (collectively, the “Prepetition
Collateral”), including substantially all of the Debtors’ assets, including cash (the “Cash
Collateral”), in each case subject to certain exceptions as set forth in the Secured Notes
Indenture. All of the Debtors’ cash as of the Petition Date constitutes Cash Collateral of the
Prepetition Secured Creditors.

(iii) Validity, Perfection, and Priority of Prepetition Liens and Prepetition
Secured Obligations. Each of the Debtors acknowledges and agrees that: (a) as of the Petition
Date, the Prepetition Liens are valid, binding, enforceable, non-avoidable, and properly perfected
liens on and security interests in the Prepetition Collateral; (b) as of the Petition Date, the
Prepetition Liens are senior in priority over any and all other liens on the Prepetition Collateral
other than valid, enforceable, and non-avoidable Permitted Liens (as defined in the Secured
Notes Indenture) on the Prepetition Collateral that were perfected prior to the Petition Date (or
perfected thereafter to the extent permitted by section 546(c) of the Bankruptcy Code); (c) the
Prepetition Secured Obligations constitute legal, valid, binding, and non-avoidable obligations of
the Debtors; (d) no offsets, challenges, objections, defenses, claims, or counterclaims of any kind
or nature to any of the Prepetition Liens or Prepetition Secured Obligations exist, and no portion
of the Prepetition Liens or Prepetition Secured Obligations is subject to any challenge or defense

including, without limitation, impairment, set-off, right of recoupment, avoidance, attachment,
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disallowance, disgorgement, reduction, recharacterization, recovery, subordination (whether
equitable or otherwise), counterclaims, or cross-claims, pursuant to the Bankruptcy Code or
applicable nonbankruptcy law; and (e) the Debtors and their estates have no claims, objections,
challenges, causes of actions, and/or choses in action, including, without limitation, “lender
liability” causes of action or avoidance claims under chapter 5 of the Bankruptcy Code, whether
arising under applicable state law or federal law (including, without limitation, any
recharacterization, subordination, avoidance, disgorgement, recovery or other claims arising
under or pursuant to sections 105, 510, or 542 through 553 of the Bankruptcy Code), against the
Prepetition Secured Creditors or any of their respective affiliates, agents, attorneys, advisors,
professionals, officers, directors, and employees arising out of, based upon, or related to their
loans under the Prepetition Notes Documents, the Prepetition Secured Obligations, or the
Prepetition Liens.

(iv) Releases. The Debtors hereby forever, unconditionally and irrevocably
release, discharge, and acquit each of the Prepetition Secured Creditors, and each of their
respective successors, assigns, affiliates, subsidiaries, parents, officers, shareholders, directors,
employees, attorneys, agents, and professionals, past, present, and future, and their respective
heirs, predecessors, successors, and assigns (collectively, the “Releasees”) of and from any and
all claims, controversies, disputes, liabilities, obligations, demands, damages, expenses
(including, without limitation, reasonable attorneys’ fees), debts, liens, actions, and causes of
action of any and every nature whatsoever, whether arising in law or otherwise, and whether or
not known or matured, arising out of or relating to, as applicable, the Prepetition Notes
Documents and/or the transactions contemplated thereunder including, without limitation, (i) any

so-called “lender liability” or equitable subordination claims or defenses, (ii) any and all claims
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and causes of action arising under the Bankruptcy Code, and (iii) any and all claims and causes
of action with respect to the extent, validity, priority, perfection, or avoidability of the Prepetition
Liens and the Prepetition Secured Obligations. The Debtors further waive and release any
defense, right of counterclaim, right of set-off, or deduction to the payment of the Obligations
that the Debtors now have or may claim to have against the Releasees, arising out of, connected
with, or relating to any and all acts, omissions, or events occurring prior to the Court entering the
Final Order.

F, Convertible Notes. Egalet issued 5.50% Convertible Senior Notes due 2020 (the
“5.50% Convertible Notes”) pursuant to that certain Indenture, dated as of April 7, 2015 (as
amended, supplemented, or otherwise modified from time to time, the “5.50% Indenture”)
among Egalet, the Guarantors (as defined in the 5.50% Indenture) from time to time party
thereto, and The Bank of New York Mellon, as trustee (the “Convertible Notes Trustee,” and
together with the holders of Convertible Notes (as defined below), the “Prepetition Convertible
Notes Creditors”) and 6.50% Convertible Senior Notes due 2024 (the “6.5% Convertible
Notes,” and together with the 5.50% Convertible Notes, the “Convertible Notes”) pursuant to
that certain Indenture, dated as of December 27, 2017 (as amended, supplemented, or otherwise
modified from time to time, the “6.50% Indenture,” and together with the 5.50% Indenture, the
“Convertible Notes Documents”) among Egalet, the Guarantors (as defined in the 5.50%
Indenture) from time to time party thereto, and the Convertible Notes Trustee, as trustee. As of
the Petition Date, the Debtors were jointly and severally indebted to the Prepetition Convertible
Notes Creditors pursuant to the Convertible Notes Documents, without defense, counterclaim, or
offset of any kind, in the aggregate principal amount of $48,538,000, plus accrued and unpaid

interest with respect thereto (which, as of the Petition Date, was $1,320,272.56), and any
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additional fees, costs, expenses (including any attorneys’, financial advisors’, and other
professionals’ fees and expenses), reimbursement obligations, indemnification obligations,
contingent obligations, and other charges of whatever nature, whether or not contingent,
whenever arising, due, or owing, and all other Obligations (as defined in the Convertible Notes
Documents) owing under or in connection with the Convertible Notes Documents; provided,
however that this paragraph F shall not bind any parties other than the Debtors.

G. Adequate Protection. To protect their interests in the Prepetition Collateral, the
Prepetition Secured Creditors are entitled to receive adequate protection for any diminution in
value of their interests in the Prepetition Collateral from and after the Petition Date resulting
from, among other things, the use of Cash Collateral, the use, sale, lease, consumption, or
disposition of Prepetition Collateral, or the imposition of the automatic stay (collectively, the
‘“Diminution in Value”) pursuant to sections 361, 362, and 363 of the Bankruptcy Code.
Pursuant to sections 361, 363, 503(b) and 507(b) of the Bankruptcy Code, as adequate protection
the Prepetition Trustee, for the benefit of itself and the Prepetition Secured Noteholders, shall
receive: (i) the Adequate Protection Liens (as defined below); (ii) the 507(b) Claim (as defined
below), and (iii) the Adequate Protection Payments (as defined below). The adequate protection
provided herein and other benefits and privileges contained herein are necessary to protect the
Prepetition Secured Creditors from any Diminution in Value of their interests in the Prepetition
Collateral and obtain the consents and agreements contained herein, including that the adequate
protection provided herein is subject and subordinate to the Carve Out (as defined below). Based
on the Motion and on the record presented to the Court, the terms of the adequate protection
arrangements and of the use of the Prepetition Collateral (including the Cash Collateral) were

negotiated in good faith, are fair and reasonable, reflect the Debtors’ prudent exercise of business
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judgment and constitute reasonably equivalent value and fair consideration for the use of Cash
Collateral. The Prepetition Secured Creditors reserve the right to seek additional adequate
protection beyond the adequate protection provided in the Interim Order or this Final Order.

H. Sections_506(c) and _552(b}. In light of the Prepetition Secured Creditors’
agreement to subordinate their liens and superpriority claims to the Carve Out and to permit the
continued use of their Cash Collateral as set forth herein, the Prepetition Secured Creditors are
entitled to the rights and benefits of section 552(b) of the Bankruptcy Code, a waiver of any
“equities of the case” claims under section 552(b) of the Bankruptcy Code, and a waiver of the
provisions of section 506(c) of the Bankruptcy Code.

I. Consent by Prepetition Secured Creditors. The Prepetition Trustee (with the
consent of the Prepetition Secured Noteholders) has agreed not to object to, conditioned on the
entry of this Final Order, the Debtors’ continued use of Cash Collateral, on the terms and
conditions set forth in this Final Order, and the terms of the adequate protection provided for in
this Final Order, including that the Adequate Protection Liens and 507(b) Claim are subject and
subordinate only to the Carve Out.

J. Necessity of Relief Requested. The ability of the Debtors to finance their
operations and complete a successful chapter 11 reorganization requires continued use of Cash
Collateral. In the absence of the ongoing use of Cash Collateral, the continued operation of the
Debtors’ businesses would not be possible and immediate and irreparable harm to the Debtors,
their estates, and their creditors would occur. The Debtors do not have sufficient available
sources of working capital and financing to operate their businesses in the ordinary course of
business or to maintain their property without the ongoing use of Cash Collateral. The relief

requested in the Motion is therefore necessary for the continued operation of the Debtors’
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businesses and the preservation of their property. The Prepetition Secured Noteholders and the
Debtors have negotiated at arms’-length and in good faith regarding the Debtors’ use of Cash
Collateral to fund the continued operation of the Debtors’ businesses during the Specified Period
(as defined below). Entry of this Final Order is in the best interests of the Debtors and their
estates.

K. Notice. In accordance with Bankruptcy Rules 2002, 4001(b), (c), and (d), and
9014, and the Local Bankruptcy Rules, notice of the Final Hearing has been provided by the
Debtors, whether by facsimile, email, overnight courier or hand delivery, to certain parties-in-
interest, including: (a) the Office of the U.S. Trustee for the District of Delaware; (b) the holders
of the thirty (30) largest unsecured claims against the Debtors (on a consolidated basis); (c) the
United States Attorney’s Office for the District of Delaware; (d) the Internal Revenue Service;
(e) counsel to the Ad Hoc Secured Noteholder Committee; (f) counsel to the holders of the
5.50% Convertible Notes due 2020 and 6.50% Convertible Notes due 2024; (g) counsel to the
Prepetition Trustee; and (h) all parties who are known, after reasonable inquiry, to have asserted
a lien, encumbrance, or claim in the Prepetition Collateral. The parties have made reasonable
efforts to afford the best notice possible under the circumstances to permit the relief set forth in
this Final Order, and no other or further notice is or shall be required.

Based upon the foregoing findings and conclusions, the Motion and the record before the

Court with respect to the Motion, and good and sufficient cause appearing therefor,

IT 18 HEREBY ORDERED that:
1. Motion Granted. The Motion is granted on a final basis as set forth herein, and

the use of Cash Collateral on a final basis is authorized, subject to the terms of the Final Order.

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2. Objections Overruled. All objections to the Motion to the extent not withdrawn
or resolved are overruled. This Final Order shall become effective immediately upon its entry.

3. Authorization to Use Cash Collateral.

(a) Specified Period. Subject to the terms and conditions of this Final Order,
the Debtors are authorized to continue to use Cash Collateral in accordance with the Budget (as
defined below) for the period (the “Specified Period”) from the Petition Date through the date
which is the earliest to occur of (i) the expiration of the Remedies Notice Period (as defined
herein) and (ii) the date that is 6 months after the Petition Date.

(b) Use_of Cash Collateral. Subject to the provisions of this Final Order,
including the Budget, Cash Collateral may continue to be used during the Specified Period by the
Debtors to: (i) finance their working capital needs and for any other general corporate purposes;
and (ii) pay related transaction costs, fees, liabilities and expenses (including all professional
fees and expenses) and other administration costs incurred in connection with and for the benefit
of these Chapter 11 Cases (including the Adequate Protection Payments), in each case solely to
the extent consistent with the Budget and this Final Order.

4, Adequate Protection, The Prepetition Secured Creditors are entitled, pursuant to
sections 361 and 363(e) of the Bankruptcy Code, to adequate protection of their interests in the
Prepetition Collateral (including Cash Collateral) to the extent of any Diminution in Value of
their interests in the Prepetition Collateral (which shall be valued as of the Petition Date on a
going-concern basis) (such adequate protection as set forth in clauses (a)-(g) below, the
“Adequate Protection Obligations”). The Prepetition Trustee, on behalf of itself and for the

benefit of the Prepetition Secured Noteholders, is hereby granted, as applicable, to the extent of

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any Diminution in Value of their interests in the Prepetition Collateral from and after the Petition
Date, the following:

(a) Adequate Protection Liens. As adequate protection of the interests of the
Prepetition Secured Creditors in the Prepetition Collateral against any Diminution in Value of
such interests, pursuant to sections 361 and 363(e) of the Bankruptcy Code, the Debtors are
authorized to grant, and immediately upon the entry of the Interim Order were deemed to have
granted, to the Prepetition Trustee, for the benefit of itself and the Prepetition Secured
Noteholders, additional and replacement continuing valid, binding, enforceable, non-avoidable,
and automatically perfected postpetition security interests in and liens on (the “Adequate
Protection Liens”) all of each Debtor’s presently owned or hereafter acquired property and
assets (including any of the Debtors’ claims or causes of action under sections 544, 545, 547,
548 or 550 of the Bankruptcy Code or any other similar state or federal iaw, and any proceeds
thereof), other than OXAYDO® Excluded Assets (as defined in the Secured Notes Indenture),
whether such property and assets were acquired by such Debtor before or after the Petition Date,
of any kind or nature, whether real or personal, tangible or intangible, wherever located,
including, without limitation, all inventory, accounts receivable, general intangibles, chattel
paper, contracts, owned real estate, real and personal property leaseholds, property, plants,
fixtures and machinery and equipment, vehicles, vessels, deposit accounts, cash and any
investment thereof, letter of credit rights, patents, copyrights, trademarks, trade names, rights
under license agreements and other intellectual property and stock of subsidiaries of the Debtors,
and the proceeds and products of the foregoing (collectively, together with the Prepetition
Collateral and the Cash Collateral, the “Collateral”). The Adequate Protection Liens shall be

subject and subordinate only to (i) the Carve Out and, (ii) with respect to the restricted certificate

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of deposit account at Welis Fargo Bank, N.A. (ending in x1527) (the “Credit Card Collateral
Account”), the lien (the “Wells Fargo Credit Card Account Lien”) granted to Wells Fargo
Bank, N.A. pursuant to the interim and final orders approving the Debtors’ continued use of their
existing bank accounts and cash management system (the “Cash Management Orders”), and
shall secure the Prepetition Secured Obligations to the extent of any Diminution in Value of the
Prepetition Secured Creditors’ interests in the Prepetition Collateral from and after the Petition
Date. The Adequate Protection Liens shall be enforceable against the Debtors, their estates, and
any successors thereto, including, without limitation, any trustee or other estate representative
appointed in these Chapter 11 Cases, or any case under chapter 7 of the Bankruptcy Code upon
the conversion of any of these Chapter 11 Cases, or in any other proceedings superseding or
related to any of the foregoing (collectively, “Successor Cases”). Except as expressly provided
herein (including with respect to the Carve Out and the Wells Fargo Credit Card Account Lien),
the Adequate Protection Liens shall not be made subject to or pari passu with any lien or
security interest heretofore or hereinafter granted in the Chapter 11 Cases or any Successor
Cases, and the Adequate Protection Liens shall be valid and enforceable against any trustee or
other estate representative appointed in any of these Chapter 11 Cases or any Successor Cases, or
upon the dismissal of any of these Chapter 11 Cases or Successor Cases. The Adequate
Protection Liens shall not be subject to sections 506(c), 510, 549, or 550 of the Bankruptcy
Code. The Adequate Protection Liens shall be deemed legal, valid, binding, enforceable, and
perfected liens, not subject to subordination, impairment, or avoidance, for all purposes in these
Chapter 11 Cases and any Successor Cases. For the avoidance of doubt, the Adequate Protection
Liens shall be deemed to be effective and perfected automatically as of the Petition Date and

without the necessity of the execution by the Debtors, or the filing of, as applicable, mortgages,

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security agreements, pledge agreements, financing statements, state or federal notices, recordings
(including, without limitation, any recordings with the United States Patent and Trademark or
Copyright Office), or other agreements and without the necessity of taking possession or control
of any Collateral. Except as otherwise expressly provided herein (including with respect to the
Carve Out and the Wells Fargo Credit Card Account Lien), under no circumstances shall the
Adequate Protection Liens be made subordinate to the lien of any other party, no matter when
arising.

{b) Adequate Protection Superpriority Claim. To the extent of any
Diminution in Value of the interests of the Prepetition Secured Creditors in the Prepetition
Collateral, the Prepetition Trustee, on behalf of itself and the Prepetition Secured Noteholders,
shall be granted, subject only to the payment of the Carve Out, an allowed superpriority
administrative expense claim pursuant to sections 503(b), 507(a), and 507(b) of the Bankruptcy
Code (the “507(b) Claim”), which 507(b) Claim shall be an allowed claim against each of the
Debtors (jointly and severally), with priority over any and all administrative expenses and all
other claims against the Debtors now existing or hereafter arising, of any kind specified in
sections 503(b) and 507(b) of the Bankruptcy Code, and all other administrative expenses or
other claims arising under any other provision of the Bankruptcy Code, including, without
limitation, sections 105, 326, 327, 328, 330, 331, 503(b), 507(a), 507(b), or 1114 of the
Bankruptcy Code, whether or not such expenses or claims may become secured by a judgment
lien or other noncensensual lien, levy, or attachment, The 507(b) Claim shall be payable from
all prepetition and postpetition property of the Debtors (including, for the avoidance of doubt, the
OXAYDO® Excluded Assets) and the proceeds thereof, subject to the relative priorities set forth

above.

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(c) Fees and Expenses. The Debtors are authorized and directed to pay,
within ten (10) calendar days of delivery of an invoice (which shall include reasonable
supporting detail, which may be redacted to protect privileged or confidential information), all
reasonable and documented prepetition and postpetition fees and expenses of: (i) one primary
counsel and one local counsel retained by the Prepetition Trustee; and (ii) Paul, Weiss, Rifkind,
Wharton & Garrison LLP, as counsel to the Ad Hoc Secured Noteholder Committee (as defined
in the Restructuring Support Agreement) and one local counsel retained by the Ad Hoc Secured
Noteholder Committee. Payment of all such fees and expenses shall not be subject to allowance
by the Court; provided, however, that the Debtors shall promptly provide copies of invoices
received on account of the fees and expenses set forth above to the U.S. Trustee and counsel to
any Committee appointed in the Chapter 11 Cases, and the Court shall have exclusive
Jurisdiction over any objections raised by the Committee (if appointed) or the U.S. Trustee to the
invoiced amount of the fees and expenses proposed to be paid, which objections may only be
raised within ten (10) calendar days after delivery of an invoice(s) therefor and shall be limited to
the issue of the reasonableness of such fees and expenses. In the event that within ten (10)
calendar days from delivery of such invoices the U.S. Trustee or counsel to the Committee (if
appointed) raises an objection to a particular invoice, and the parties are unable to resolve such
objection, the Court shall hear and determine such dispute; provided, that payment of invoices
shall not be delayed based on any such objections and the relevant professional shall only be
required to disgorge amounts objected to upon being “so ordered” pursuant to a final order of the
Court.

(d) Adequate Protection Payments. The Debtors shall continue to pay to the

Prepetition Trustee, for the benefit of itself and the Prepetition Secured Noteholders, monthly

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adequate protection payments (the “Adequate Protection Payments”), in an amount resulting
from applying a per annum rate equal to the non-default contract interest rate set forth in the
Secured Notes Indenture to the aggregate outstanding amount of Prepetition Secured Obligations
as of the Petition Date in respect of such relevant periods ending after the Petition Date;
provided, however, that the Prepetition Trustee reserves the right to assert claims for the payment
of additional interest calculated at any other applicable rate of interest, or on any other basis,
provided for under the Prepetition Notes Documents, and for the payment of any other amounts
provided for in the Prepetition Notes Documents. The Adequate Protection Payments will be
calculated on a monthly basis, and are due and payable on the first business day of each month
beginning in the first full month after entry of the Interim Order. The Prepetition Trustee is
authorized and directed to distribute each Adequate Protection Payment to the Prepetition
Secured Noteholders of record as of the date that is three (3) business days following the date on
which the Prepetition Trustee receives any such Adequate Protection Payment.

(ec) Budget and Variance Reporting. Attached as Exhibit A hereto and
incorporated herein by reference is a 13-week cash flow forecast (the “Budget”), including the
anticipated uses of the Cash Collateral for such period. Every four (4) weeks following entry of
the Interim Order, on the last business day of such week, the Debtors will continue to provide the
Prepetition Trustee and counsel to the Ad Hoc Secured Noteholder Committee with an updated
Budget for the subsequent 13-week period. The initial Budget and each subsequent Budget shall
be in form and substance acceptable to the Required Supporting Secured Noteholders (as defined
in the Restructuring Support Agreement) and each such subsequent Budget shall not be deemed
to constitute the “Budget” for purposes of this Final Order until such consent has been confirmed

in writing by counsel to the Required Supporting Secured Noteholders. Each week following

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entry of the Interim Order, on the third business day of such week, the Debtors shall also
continue to provide to the Prepetition Trustee and counsel to the Ad Hoc Secured Noteholder
Committee a Budget variance report/reconciliation (the “Budget Variance Report”) setting
forth in reasonable detail actual cash receipts and disbursements for the prior week, and,
beginning after the first four (4) week period, all variances, on an individual line item basis and
an aggregate basis, as compared to the previously delivered Budget on a cumulative weekly basis
over a rolling four (4) week period, together with a statement certifying compliance with the
Budget Covenants set forth below. The Budget Variance Report shall include an explanation, in
reasonable detail, of any material variance. The Debtors shall ensure that at no time any of the
following occur (together, the “Budget Covenants”): (i) a negative variance of 15.0% or more
from the total cash receipts set forth in the Budget, to be tested on a cumulative basis over a
rolling four (4) week period, provided that, in the event that any cash receipt budgeted to be
received in any rolling four (4) week period is not actually received during such period, such
receipt shall be deemed, for purposes of any and all variance testing conducted pursuant to this
Paragraph, to have been received during such budgeted period (and not, for the avoidance of
doubt, during the week such cash receipt was actually received) if it is received (a) within one (1)
calendar week after the end of such period, or (b) solely with respect to receipts in connection
with the SPRIX® (ketorolac tromethamine) Nasal Spray, within one (1) calendar week before
the beginning of such period; and (ii) a negative variance of 15.0% or more from the “Total
Operating Disbursements,” tested every week on a cumulative rolling four (4) week basis,
provided that, in any rolling four (4) week period that “Total Operating Disbursements” are less
than the budgeted amount for such period, the amount by which “Total Operating

Disbursements” are less may be carried forward and added to the subsequent period, provided

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further that, “Total Operating Disbursements” shall include disbursements made by the Debtors
(including, but not limited to, any payments, expenditures or advances) other than (a) Adequate
Protection Payments and (b) professional fees and expenses related to administration of these
Chapter 11 Cases.

(f) Access to Records. Upon three (3) business days’ written notice, at
reasonable times during normal business hours, the Debtors shall permit representatives, agents,
and employees of the Prepetition Trustee and the Ad Hoc Secured Noteholder Committee to
have reasonable access to (i) inspect the Debtors’ properties, (ii) examine the Debtors’ books and
records, and (iii) to discuss the Debtors’ affairs, finances, and condition with the Debtors’ senior
management and financial advisors, including regularly scheduled meetings as mutually agreed
with senior management of the Debtors and financial advisors (during normal business hours),
and the Prepetition Trustee and the Ad Hoc Secured Noteholder Committee shall be provided
with reasonable access to the information they shall reasonably request.

(g) Right _to Seek Additional Adequate Protection. This Final Order is
without prejudice to, and does not constitute a waiver of, expressly or implicitly, the rights of the
Prepetition Secured Creditors to request further or alternative forms of adequate protection at any
time or the rights of the Debtors or any other party to contest such request.

5. Modification of Automatic Stay. The automatic stay imposed under section
362(a) of the Bankruptcy Code is modified as necessary to effectuate all of the terms and
provisions of this Final Order, including, without limitation, to: (a) permit the Debtors to grant
the Adequate Protection Liens and the 507(b) Claim; (b) permit the Debtors to perform such acts
as the Prepetition Trustee or Prepetition Secured Noteholders may request in their reasonable

discretion to assure the perfection and priority of the liens granted herein; (c) permit the Debtors

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to incur all liabilities and obligations to the Prepetition Trustee and Prepetition Secured
Noteholders under this Final Order, and (d) authorize the Debtors to pay, and the Prepetition
Trustee and Prepetition Secured Noteholders to retain and apply, payments made in accordance
with the terms of this Final Order.

6. Grant and Perfection of Adequate Protection Liens. The Interim Order and this
Final Order shall each be sufficient and conclusive evidence of the granting, attachment, validity,
perfection, enforceability, and priority of the Adequate Protection Liens without the necessity of
obtaining, filing, executing, or recording any financing statement, security agreement, vehicle
lien application, patent filing, trademark filing, copyright filing, fixture filing, mortgage, notice,
or other instrument or document that may otherwise be required under the law or regulation of
any jurisdiction or the taking of possession of, or control over, assets, or the taking of any other
action (including, for the avoidance of doubt, entering into any deposit account control
agreement and any other action required to obtain “control” pursuant to section 9-104, 9-105, 9-
106, and/or 9-107 of the Uniform Commercial Code) to grant, attach, validate or perfect (in
accordance with applicable nonbankruptcy law) the Adequate Protection Liens, or to entitle the
Prepetition Trustee and Prepetition Secured Noteholders to the priorities granted herein.
Notwithstanding the foregoing, the Prepetition Trustee is authorized, but not required, to file, as
it deems necessary or advisable in its sole discretion, such financing statements, security
agreements, vehicle lien applications, patent filings, trademark filings, copyright filings, fixture
filing, mortgages, notices of liens, and other instruments or similar documents to perfect in
accordance with applicable non-bankruptcy law or to otherwise evidence the Adequate
Protection Liens, and all such financing statements, security agreements, vehicle lien

applications, patent filings, trademark filings, copyright filings, fixture filings, mortgages,

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notices of lien, and other documents shall be deemed to have been filed or recorded as of the
Petition Date; provided, however, that no such filing or recordation shall be necessary or
required in order to create, evidence, or perfect the Adequate Protection Liens. The Debtors are
authorized and directed to execute and deliver promptly upon demand to the Prepetition Trustee
all such financing statements, security agreements, vehicle lien applications, mortgages, notices,
instruments, and other documents as the Prepetition Trustee may reasonably request. The
Prepetition Trustee may file a copy of the Interim Order or this Final Order as a financing
statement or notice with any filing or recording office or with any registry of deeds or similar
office, in addition to, or in lieu of, such financing statements, mortgages, notices of lien,
instrument, or similar document. In furtherance of the foregoing and without further approval of
the Court, each Debtor is authorized to do and perform all acts to make, execute, and deliver all
instruments and documents and to pay all fees that may be reasonably required or necessary for
the Debtors’ performance hereunder. Nothing in this paragraph 6 shall prejudice the rights of the
parties-in-interest to the extent set forth in paragraph 11.

7. Credit Bid, The Prepetition Trustee, for the benefit of the Prepetition Secured
Noteholders, shall have the right to credit bid all or any portion of their respective claims in
connection with a sale of the Debtors’ assets, without the need for further order of the Court, and
whether such sale is effectuated under section 363(k) of the Bankruptcy Code, under a chapter 11
plan of reorganization for any or all of the Debtors, by a chapter 7 trustee under section 725 of
the Bankruptcy Code, or otherwise; provided, however, that the foregoing shall not limit the
rights of the Debtors under Section 363(k) of the Bankruptcy Code solely to the extent arising
from acts or omissions by the Prepetition Secured Noteholders or the Prepetition Trustee

occurring after the Petition Date.

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8. Events of Default. The occurrence and continuance of any of the following
events, unless waived in writing by the Prepetition Trustee and the Required Supporting Secured
Noteholders, shall constitute an event of default (collectively, the “Events of Default”):

(a) the Debtors shall have (i) filed a motion seeking to create, or (ii) created,
incurred or suffered to exist, any postpetition liens or security interests, other than those granted
or permitted pursuant to the Interim Order or this Final Order without the consent of the
Required Supporting Noteholders;

(b) the Debtors shall have filed a disclosure statement or chapter 11 plan that
is not reasonably acceptable to the Prepetition Trustee and the Required Supporting Secured
Noteholders;

(c) any of the documents or other information required to be delivered to any
of the Prepetition Secured Creditors pursuant to the Interim Order or this Final Order shall
contain material misrepresentations;

(d) the entry of a final order by the Court, other than the Interim Order or this
Final Order, granting relief from or modifying the automatic stay of section 362 of the
Bankruptcy Code (i) to allow any creditor to execute upon or enforce a lien on or security
interest in any Collateral, or (ii) with respect to any lien of or the granting of any lien on any
Collateral to any state or local environmental or regulatory agency or authority;

(e) the Court shall enter an order approving any claims for recovery of
amounts under section 506(c) of the Bankruptcy Code or otherwise arising from the preservation
of any Collateral;

(f} the Debtors shall support, commence, or join as an adverse party in any

suit or other proceeding against the Prepetition Trustee or the Prepetition Secured Noteholders

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relating to the Prepetition Secured Obligations or Collateral, including any proceeding seeking to
avoid or require repayment of any Adequate Protection Payments;

(g) reversal, amendment, supplement, vacatur, or modification (without the
express prior written consent of the Prepetition Trustee and the Required Supporting Secured
Noteholders) of the Interim Order or this Final Order;

(h) the entry of a final order by the Court avoiding or requiring repayment of
any portion of the Adequate Protection Payments made by the Debtors hereunder;

(i) the Interim Order, this Final Order or any other pleading filed in the
Chapter 11 Cases by the Debtors provides for the nonconsensual priming of the Prepetition
Liens;

)) the Debtors shall create, incur or suffer to exist any other claim which is
pari passu with or senior to the 507(b) Claim;

(k) dismissal of any of these Chapter 11 Cases or conversion of any of these
Chapter 11 Cases to chapter 7 cases, or appointment of a trustee, receiver, interim receiver or
manager, or appointment of a responsible officer or examiner with enlarged powers in any of
these Chapter 1] Cases (having powers beyond those set forth in Bankruptcy Code sections
1106(a}{3) and (4));

(1) the cessation of all or any material part of the Debtors’ business
operations, considered on a consolidated basis without the consent of the Required Supporting
Noteholders;

(m) the Debtors’ exclusive right to file and solicit acceptances of a plan of

reorganization is terminated or terminates;

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(n) termination of the Restructuring Support Agreement other than a
termination by the Debtors pursuant to Section 7(b)(i) of the Restructuring Support Agreement;

(o) the failure to make Adequate Protection Payments or other material
payments as set forth herein when due and such failure shall remain unremedied for more than
five (5) business days after receipt by the Debtors of written notice thereof from the Prepetition
Trustee; and

(p) the failure by the Debtors to perform, in any respect, any of the terms,
provisions, conditions, or obligations under the Interim Order or this Final Order, including a
breach of the Budget Covenants set forth in Paragraph 4(e) hereof.

9. Rights and Remedies Upon Event of Default. Upon the occurrence of an Event of
Default and following the giving of five (5) business days’ written notice to the Debtors, the
Office of the U.S. Trustee, and counsel to any official committee appointed in these cases (the
“Remedies Notice Period”), the Prepetition Trustee and the Prepetition Secured Noteholders
may exercise the remedies available to them under the Interim Order, this Final Order, and
applicable non-bankruptcy law, including, but not limited to, revoking the Debtors’ right to use
Cash Collateral and collecting and applying any proceeds of the Collateral in accordance with
the terms of this Final Order and the Prepetition Notes Documents. During the Remedies Notice
Period, the Debtors and/or a Committee (if appointed) shall be entitled to seek an emergency
hearing; provided that the sole issue that the Debtors may bring before the Court at any such
emergency hearing is whether an Event of Default has occurred and/or is continuing, and the
Debtors shall not be entitled to seek other relief, including under section 105 of the Bankruptcy
Code, at that hearing. During the Remedies Notice Period, the Debtors may request that this

Court order the continued use of Cash Collateral. During the Remedies Notice Period, the

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Debtors may continue to use Cash Collateral in the ordinary course of business, consistent with
past practices and the most recently delivered Budget, but may not enter into any transactions or
arrangements (including, without limitation, the incurrence of indebtedness or liens, investments,
restricted payments, asset sales, or transactions with non-Debtor affiliates) that are not in the
ordinary course of business. Unless the Court orders otherwise during the Remedies Notice
Period, at the end of the Remedies Notice Period, the Debtors shall automatically, without
further notice or order of the Court, no longer have the right to use or seek to use Cash
Collateral, the automatic stay pursuant to section 362 of the Bankruptcy Code shall be
automatically terminated at the end of the Remedies Notice Period, without further notice or
order of the Court, and the Prepetition Trustee and the Prepetition Secured Noteholders shall be
permitted to exercise all rights and remedies set forth in the Interim Order, this Final Order, the
Prepetition Notes Documents, and as otherwise available at law without further order or
application or motion to the Court, and without restriction or restraint by any stay under section
362 or 105 of the Bankruptcy Code. Notwithstanding anything herein to the contrary, the
automatic stay pursuant to section 362 of the Bankruptcy Code shall be automatically terminated
for the purposes of giving any notice contemplated hereunder. The delay or failure to exercise
rights and remedies under the Interim Order, this Final Order or the Prepetition Notes
Documents shall not constitute a waiver of the Prepetition Trustee’s or the Prepetition Secured
Noteholders’ rights thereunder or otherwise.

10. Carve Out. As used in this Final Order, the “Carve Out” means the sum of:
(i) alt fees required to be paid to the Clerk of the Court and to the Office of the United States
Trustee under section 1930(a) of title 28 of the United States Code plus interest at the statutory

rate (without regard to the notice set forth in (iii) below); (ii) all reasonable fees and expenses up

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to $25,000 in the aggregate incurred by a trustee under section 726(b) of the Bankruptcy Code
(without regard to the notice set forth in (iii) below); (iii) to the extent allowed by final order
(and, in the case of Committee Professionals (as defined below), subject to the Budget), all
unpaid fees and expenses (the “Allowed Professional Fees”) incurred by persons or firms
retained by the Debtors pursuant to section 327, 328, or 363 of the Bankruptcy Code (the
“Debtor Professionals”) and (subject to the Budget) any Committee appointed in the Chapter 11
Cases pursuant to section 1103 of the Bankruptcy Code (the “Committee Professionals” and,
together with the Debtor Professionals, the “Professional Persons”) at any time before delivery
by the Prepetition Trustee of a Carve Out Trigger Notice (as defined below), whether allowed by
the Court prior to or after delivery of a Carve Out Trigger Notice; and (iv) Allowed Professional
Fees of Debtor Professionals in an aggregate amount not to exceed $350,000, and Allowed
Professional Fees of Committee Professionals (to the extent a Committee is appointed) in an
aggregate amount not to exceed $25,000, in each case incurred after delivery by the Prepetition
Trustee of the Carve Out Trigger Notice, to the extent allowed by final order (the amounts set
forth in this clause (iv) being the “Post-Carve Out Trigger Notice Cap”). For purposes of the
foregoing, “Carve Out Trigger Notice” shall mean a written notice delivered by email (or other
electronic means) by the Prepetition Trustee to primary restructuring counsel to the Debtors, the
U.S. Trustee, and counsel to the Committee (if appointed), which notice may be delivered
following the occurrence of an Event of Default, stating that the Post-Carve Out Trigger Notice
Cap has been invoked. Notwithstanding anything to the contrary in this Final Order, payment
following the delivery of a Carve Out Trigger Notice of any of the statutory, Allowed
Professional Fees or other fees covered by this Carve Out shall be paid (and shall be deemed to

have been satisfied) first, from unencumbered assets or cash that is not Cash Collateral (if any)

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and second, if there are no remaining unencumbered assets or cash that is not Cash Collateral,
from Cash Collateral.

11. Reservation of Certain Committee and Third Party Rights and Bar of Challenges
and Claims, The stipulations, releases and admissions contained in this Final Order, including,
without limitation, the Debtors’ Stipulations, shall be binding upon the Debtors and their
affiliates in all circumstances and for all purposes, and the Debtors are deemed to have
irrevocably waived and relinquished all Challenges (as defined below) as of the Petition
Date. The stipulations, releases and admissions contained in this Final Order (other than the
acknowledgement in paragraph F, which is binding only upon the Debtors), including, without
limitation, the Debtors’ Stipulations, shall be binding upon all other parties-in-interest, including,
without limitation, any chapter 7 or chapter 11 trustee appointed or elected for a Debtor or the
Committee (if appointed) and any other person acting on behalf of the Debtors’ estates, unless
and to the extent that a party-in-interest with proper standing granted by order of the Court (or
other court of competent jurisdiction) has filed an adversary proceeding or contested matter (i)
before the earlier of (a) the date on which this Court enters an order confirming the Debtors’
chapter 11 plan of reorganization and (b) seventy-five (75) calendar days after entry of the
Interim Order, subject to further extension by written agreement of the Debtors and the Required
Supporting Secured Noteholders, each acting in their sole discretion (in each case, a “Challenge
Period” and the date of expiration of each Challenge Period being a “Challenge Period
Termination Date”), (ii) seeking to avoid, object to, or otherwise challenge the findings or
Debtors’ Stipulations regarding: (a) the validity, enforceability, extent, priority, or perfection of
the mortgages, security interests, and liens of the Prepetition Trustee or any Prepetition Secured

Noteholder; or (b) the validity, enforceability, allowability, priority, secured status, or amount of

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the Prepetition Secured Obligations (any such claim, a “Challenge”), and (iit) there is a final
order entered in favor of the plaintiff sustaining any such Challenge in any such timely filed
adversary proceeding or contested matter. Upon the expiration of the Challenge Period
Termination Date without the filing of a Challenge (or if any such Challenge is filed and
overruled): (a) any and all such Challenges by any party (including, without limitation, the
Committee (if appointed), any chapter 11 trustee, and/or any examiner or other estate
representative appointed or elected in these Chapter 11 Cases, and any chapter 7 trustee and/or
examiner or other estate representative appointed or elected in any Successor Case) shall be
deemed to be forever waived, released, and barred; (b) the Prepetition Secured Obligations shall
constitute allowed claims, not subject to counterclaim, setoff, recoupment, reduction,
subordination, recharacterization, defense, or avoidance for all purposes in the Debtors’ Chapter
11 Cases and any Successor Cases; (c) the Prepetition Liens shall be deemed to have been, as of
the Petition Date, legal, valid, binding and perfected, not subject to recharacterization,
subordination, or avoidance; and (d) all of the Debtors’ stipulations and admissions contained in
this Final Order, including, without limitation, the Debtors’ Stipulations, and all other waivers,
releases, affirmations, and other stipulations as to the priority, extent, and validity as to the
Prepetition Trustee’s and Prepetition Secured Noteholders’ claims, liens, and interests contained
in this Final Order shall be of full force and effect and forever binding upon the Debtors, the
Debtors’ bankruptcy estates, and all creditors, interest holders, and other parties-in-interest in
these Chapter 11 Cases and any Successor Cases. If any such adversary proceeding or contested
matter is timely filed, the stipulations and admissions contained in this Final Order, including the
Debtors’ Stipulations, shall nonetheless remain binding and preclusive on any Committee and

any other person or entity except to the extent that such stipulations and admissions were

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expressly challenged in such adversary proceeding or contested matter prior to the Challenge
Period Termination Date. Nothing in this Final Order vests or confers on any Person (as defined
in the Bankruptcy Code), including any Committee appointed in these Chapter 11 Cases,
standing or authority to pursue any cause of action belonging to the Debtors or their estates,
including, without limitation, any Challenges with respect to the Prepetition Secured Notes or the
Prepetition Secured Obligations, and an order of the Court conferring such standing on a
Committee (if appointed) or other party-in-interest shall be a prerequisite for the prosecution of a
Challenge by the Committee (if appointed) or such other party-in-interest.

12. Limitations on the Use_of Cash Collateral. Notwithstanding anything herein to
the contrary, the Debtors shall not assert or prosecute, and no portion of the proceeds of the
Collateral, including any Cash Collateral or the Carve Out, and no disbursements set forth in the
Budget, shall be used in connection with (a) preventing, hindering, or delaying the Prepetition
Trustee’s or the Prepetition Secured Noteholders’ enforcement or realization upon any of the
Collateral once an Event of Default has occurred and after the Remedies Notice Period,
(b) objecting or challenging or contesting in any manner, or raising any defenses to, the validity,
extent, amount, perfection, priority, or enforceability of any of the Prepetition Secured
Obligations or Collateral, or any other rights or interest of the Prepetition Secured Creditors,
(c) asserting, commencing, or prosecuting any claims or causes of action, including, without
limitation, any actions under chapter 5 of the Bankruptcy Code, against the Prepetition Trustee or
any Prepetition Secured Noteholder or any of their respective affiliates, agents, attorneys,
advisors, professionals, officers, directors, or employees, or (d) paying any amount on account of
any claims arising prior to the Petition Date or any non-ordinary course administrative claim

unless such payments are (i) approved by an order of this Court and (ii) in accordance with the

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Budget Covenants; provided, however, that up to $25,000 of Cash Collateral may be used to pay

 

the allowed fees and expenses incurred solely by the Committee (if appointed) in investigating
(but not commencing or prosecuting), the validity, enforceability, perfection, priority, or extent
of the liens under the Prepetition Secured Notes (the “Committee Investigation Budget”).

13. No Third Party Rights. Except as explicitly provided for herein, this Final Order
does not create any rights for the benefit of any third party, creditor, equity holder, or any direct,
indirect, or incidental beneficiary.

14. Section 506(c) Claim. No costs or expenses of administration which have been or
may be incurred in these Chapter 11 Cases at any time, or any future proceeding that may result
therefrom, including any Successor Cases, shall be charged against or recovered from the
Prepetition Trustee or any Prepetition Secured Noteholder or any of their respective claims or the
Collateral (including the Prepetition Collateral) pursuant to sections 105 or 506(c) of the
Bankruptcy Code, or otherwise, without the prior express written consent of the Prepetition
Trustee or the Required Supporting Secured Noteholders, and no such consent shall be implied,
directly or indirectly, from any other action, imaction, or acquiescence by any such
representatives, agents, or lenders. The Debtors and their estates are deemed to have irrevocably
waived, and are prohibited from asserting, any surcharge claim, under section 506(c) or
otherwise, for any costs incurred, including those in connection with the preservation, protection,
or enhancement of, or realization by the Prepetition Secured Creditors upon, the Collateral.

15. No Waiver of Prepetition Secured Creditors’ Rights, Reservation of Rights.
Notwithstanding anything to the contrary herein, this Final Order is without prejudice to, and
does not constitute a waiver of, expressly or implicitly, any Prepetition Secured Creditors’ rights

with respect to any person or entity or with respect to any other collateral owned or held by any

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person or entity. The rights of the Prepetition Secured Creditors are expressly reserved and entry
of this Final Order shall be without prejudice to, and does not constitute a waiver, expressly or
implicitly, of: (a) the Prepetition Secured Creditors’ rights under any of the Prepetition Notes
Documents; (b) the Prepetition Secured Creditors’ rights to seek any other or supplemental relief
in respect of the Debtors; (c) the Prepetition Secured Creditors’ rights to seek modification of the
grant of adequate protection provided under this Final Order so as to provide different or
additional adequate protection at any time; or (d) any other rights, claims, or privileges (whether
legal, equitable, or otherwise) of the Prepetition Secured Creditors.

16. No Liability to Third Parties. By reason of permitting the Debtors to use Cash
Collateral under the terms set forth herein or in taking any other actions related to the Interim
Order or this Final Order, the Prepetition Trustee and Prepetition Secured Noteholders (a) shall
have no liability to any third party and shall not be deemed to be in control of the operations of
any Debtors or to be acting as a “controlling person,” “responsible person,” or “owner or
operator” with respect to the operation or management of any Debtors (as such term, or any
similar terms, are used in the Internal Revenue Code, the United States Comprehensive
Environmental Response, Compensation and Liability Act, as amended, or any similar Federal or
state statute), and (b) shall not owe any fiduciary duty to any of the Debtors, their creditors, or
their estates, and shall not be party to or be deemed to be party to a joint venture or partnership
with any of the Debtors. Furthermore, nothing in the Interim Order or this Final Order shall in
any way be construed or interpreted to impose or allow the imposition upon the Prepetition
Trustee or the Prepetition Secured Noteholders of any liability for any claims arising from the
prepetition or postpetition activities of any of the Debtors and their affiliates (as defined in

section 101(2) of the Bankruptcy Code).

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17. No Marshaling/Applications of Proceeds. The Prepetition Trustee and Prepetition
Secured Noteholders shall not be subject to the equitable doctrine of “marshaling” or any other
similar doctrine with respect to any of the Collateral (including the Prepetition Collateral), as the
case may be, and proceeds or payments shall be received and applied in accordance with the
Prepetition Notes Documents, notwithstanding any other agreement or provision to the contrary.

18. Section $52(b). The Prepetition Trustee and Prepetition Secured Noteholders are
each entitled to all of the rights and benefits of section 552(b) of the Bankruptcy Code, and the
“equities of the case” exception under section 552(b) of the Bankruptcy Code does not apply to
the Prepetition Trustee or Prepetition Secured Noteholders with respect to proceeds, product,
offspring, or profits of any of the Coilateral (including the Prepetition Collateral).

19. Proofs of Claim. Notwithstanding any order entered by the Court in relation to
the establishment of a bar date in any of these Chapter 11 Cases or Successor Cases to the
contrary, the Prepetition Trustee and Prepetition Secured Noteholders will not be required to file
proofs of claim in any of these Chapter 11 Cases or Successor Cases for any claim described
herein, and the Debtors’ Stipulations in Paragraph E herein shall be deemed to constitute a timely
filed proof of claim for the Prepetition Trustee and Prepetition Secured Noteholders.
Notwithstanding the foregoing, the Prepetition Trustee, for the benefit of itself and the
Prepetition Secured Noteholders, and each of the Prepetition Secured Notcholders, for its own
benefit, are authorized, but not directed or required, in their sole discretion, to file (and amend
and/or supplement, as they see fit) a proof of claim and/or aggregate proofs of claim in each of
these Chapter 11 Cases or Successor Cases for any claim described herein. Notwithstanding any
order entered by the Court in relation to the establishment of a bar date in any of these Chapter

11 Cases or Successor Cases to the contrary, the Convertible Notes Trustee and holders of

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Convertible Notes (the “Convertible Noteholders”) will not be required to file proofs of claim
in any of these Chapter 11 Cases or Successor Cases for any claim described herein, and the
Debtors’ Stipulations in Paragraph F herein shall be deemed to constitute a timely filed proof of
claim for the Convertible Notes Trustee and Convertible Noteholders. Notwithstanding the
foregoing, the Convertible Notes Trustee, for the benefit of itself and the Convertible
Noteholders, and each of the Convertible Noteholders, for its own benefit, are authorized, but not
directed or required, in their sole discretion, to file (and amend and/or supplement, as they see
fit) a proof of claim and/or aggregate proofs of claim in each of these Chapter 11 Cases or
Successor Cases for any claim described herein.

20. Binding Effect _of Final Order. Immediately upon entry by this Court
(notwithstanding any applicable law or rule to the contrary), the terms and provisions of this
Final Order shall become valid and binding upon and inure to the benefit of the Debtors, the
Prepetition Trustee, the Prepetition Secured Noteholders, all other creditors of any of the
Debtors, any Committee or any other Court-appointed committee appointed in any Chapter 11
Cases, and all other parties-in-interest and the respective successors and assigns of each of the
foregoing, including any chapter 7 or chapter |! trustee or other fiduciary hereafter appointed or
elected for the estates of the Debtors or with respect to the property of the estate of any Debtors
in any of these Chapter I! Cases, any Successor Cases, or upon dismissal of any Case or
Successor Case. In the event of any inconsistency between the provisions of this Final Order and
the Prepetition Notes Documents or any other order (including any “First Day” order), the
provisions of this Final Order shall govern and control. Any payments to be made by any of the
Debtors under any order (including any “First Day” order) shall be made in accordance with this

Final Order.

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21. Survival.

(a) The provisions of this Final Order and any actions taken pursuant hereto
shall survive entry of any order which may be entered: (a) confirming any plan of reorganization
in any of these Chapter 1] Cases; (b) converting any of these Chapter 11 Cases to a case under
chapter 7 of the Bankruptcy Code; or (c) dismissing any of these Chapter 11 Cases or any
Successor Cases. The terms and provisions of this Final Order, including, without limitation, the
granting of the Adequate Protection Liens and 507(b) Claim, and the other protections granted to
the Prepetition Trustee and Prepetition Secured Noteholders pursuant to this Final Order, shall
continue in full force and effect notwithstanding entry of any such order.

(b) If any or all of the provisions of this Final Order are hereafter reversed,
modified, vacated or stayed, such reversal, modification, vacation or stay shall not affect the
validity and enforceability of the Adequate Protection Obligations granted in connection
therewith, subject to paragraph 11 hereof. Notwithstanding any such reversal, modification,
vacation or stay, any use of Cash Collateral or Adequate Protection Obligations incurred by the
Debtors to the applicable Prepetition Secured Creditors prior to the actual receipt of written
notice by the Required Supporting Secured Noteholders of the effective date of such reversal,
modification, vacation or stay shall be governed in all respects by the original provisions of this
Final Order,

(c) Except as expressly provided in this Final Order, the Adequate Protection
Obligations and all other rights and remedies of the Prepetition Trustee and the Prepetition
Secured Noteholders granted by the provisions of this Final Order shall survive, and shall not be
modified, impaired or discharged by the entry of an order converting any of these Chapter 11

Cases to a case under chapter 7, dismissing these Chapter 11 Cases, approving the sale of any

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Collateral (including any Prepetition Collateral) pursuant to section 363(b) of the Bankruptcy
Code or the entry of an order confirming a plan of reorganization in these Chapter 11 Cases and,
pursuant to section 1141(d)(4) of the Bankruptcy Code, the Debtors have waived any discharge
as to any remaining Adequate Protection Obligations. The terms and provisions of this Final
Order shall continue in these Chapter 11 Cases, in any Successor Cases, or in any superseding
chapter 7 case under the Bankruptcy Code, and the Adequate Protection Obligations and all other
rights and remedies of the Prepetition Trustee and the Prepetition Secured Noteholders granted
by the provisions of this Final Order shall continue in full force and effect until the Adequate
Protection Obligations are indefeasibly paid in full in cash.

22. Effect of this Final Order. This Final Order shall constitute findings of fact and
conclusions of law pursuant to Bankruptcy Rule 7052 and shall take effect and be enforceable
immediately upon execution hereof.

23. Retention of Jurisdiction. The Court retains exclusive jurisdiction with respect to

all matters arising from or related to the implementation of this Final Order.

Wilmington, Delayare
Dated Vaz uf , 2018

 

 

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